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  7
  8                             UNITED STATES DISTRICT COURT
  9                           SOUTHERN DISTRICT OF CALIFORNIA

 10
 11       Gilbert Salinas,                        Case: 3:21-cv-00346-CAB-AGS
 12              Plaintiff,                       Notice of:
 13         v.                                       (1) Filing of First Amended
                                                         Complaint in Lieu of
 14       Felcor Hotel Asset Company,                    Opposing Motion to
          LLC, a Delaware Limited Liability              Dismiss and
 15       Company;                                   (2) Dropping the Federal
                                                         Cause of Action
 16       BHR Operations, L.L.C., a
          Delaware Limited Liability
 17       Company; and Does 1-10;

 18              Defendants,

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 20
            Defendants have filed a motion to dismiss. The plaintiff does not
 21
      agree with the analysis presented in the Motion to Dismiss but believes that
 22
      the complaint can be strengthened by amendment. Plaintiff has therefore:
 23
         1. Filed a First Amended Complaint, adding additional factual allegations
 24
            to satisfy concerns raised by the defense. In any event, said amended
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            complaint supersedes the original complaint and moots pending Rule
 26
            12 motion: “it is hornbook law that an amended pleading supersedes
 27
            the original, the latter being treated thereafter as non-existent. Once
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  1         amended, the original no longer performs any function as a pleading.”
  2         Doe v. Unocal Corp., 27 F.Supp.2d 1174, 1180 (C.D. Cal. 1998)
  3         quoting, Bullen v. De Bretteville, 239 F.2d 824, 833 (9th Cir. 1956).
  4      2. Dropped the only federal cause of action, i.e., the cause of action under
  5         the Americans with Disabilities Act.
  6
  7   Dated: April 10, 2021           CENTER FOR DISABILITY ACCESS
  8
  9
                                             By: /s/ Russell Handy             .
                                             Russell Handy
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                                             Attorney for Plaintiff
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